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FoR THE WESTERN DIsTRiCT oF TENNESSEE ‘
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UNITED sTATES 0F AMERICA, W/U GF €1"~‘1 fulfilde
Plaintiff,
v. No. 05-20142-B/P
CALVIN MCNARY,
Defendant.
0RDER oF REFERENCE

 

Before the court is Defendant’s Motion for Bond Hearing filed on July l, 2005 . This
motion is referred to the United States Magistrate Judge for determination. Any objections to
the magistrate judge’s order shall be made Within ten (10) days after service of the order, setting
forth particularly those portions of the order objected to and the reasons for the objections

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IT rs so 0RDERE1) this 5 day of Juiy, 2005.

fha

J. DANIEL BREEN \
NIT D sTATEs DISTRICT JUDGE

 

UNITED sTATE D"ISIC COURT - WESTERN D's'TRCT oFTENNESSEE

   
 

Notice of Distribution

This notice confirms a copy of the document docketed as number 41 in
case 2:05-CR-20142 Was distributed by faX, mail, or direct printing on
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Honorable J. Breen
US DISTRICT COURT

